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                                IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE WESTERN DISTRICT OF TEXAS
                                          SAN ANTONIO DIVISION

  IN RE:                                           §
                                                   §
  HIGHPOINT LIFEHOPE SPE, LLC                      §          CASE NO. 22-50929-mmp
                                                   §
            DEBTOR.                                §
                                                   §
                                                   §
  WOODBRANCH HIGHPOINT, LLC                        §
                                                   §
            Plaintiff,                             §
                                                   §
  v.                                               §          ADVERSARY NO. 24-05003-mmp
                                                   §
  FNA VI, LLC                                      §
                                                   §
            Defendant.                             §

              MOTION OF WOODBRANCH HIGHPOINT, LLC TO REMAND FOR
             LACK OF JURISDICTION, ABSTENTION OR EQUITABLE REMOVAL
                          AND DISCRETIONARY ABSTENTION

  TO THE HONORABLE MICHAEL M. PARKER, U.S. BANKRUPTCY JUDGE:

            COMES NOW, Woodbranch Highpoint, LLC (“Woodbranch”), and for remand due to this

  Court lacking jurisdiction, there being no federal question, for abstention or equitable remand and

  discretionary abstention.

                                              SUMMARY

            This Court has no jurisdiction over the dispute removed by FNA VI, LLC (“FNA”). The

  dispute is between two creditors of the Debtor regarding property that is no longer property of the

  bankruptcy estate and claims which are no longer secured by property of the estate. Since the

  property is no longer property of the estate, both Woodbranch and FNA are at best unsecured

  creditors as to the Debtor. Whether FNA’s personal property tax lien attaches to Woodbranch’s




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  realty is not an issue within this Court’s jurisdiction, because the Court denied the Debtor’s motion

  to assume the ground lease it had with Woodbranch (Dkt #351).

                                       JURISDICTION AND VENUE

            1.         The Court lacks jurisdiction over this case pursuant to 28 U.S.C § 1334. The

  litigation between Woodbranch and FNA will not “alter the debtor’s rights, liabilities…(either

  positively or negatively)”…FDIC v. Majestic Energy Corp. (In re Majestic Energy Corp.), 835

  F.2d 87, 90 (5th Cir. 1988); Wood v. Wood, 825 F.2d 90, 91 (5th Cir. 1987). The litigation involves

  disputes between non-debtor entities and non-debtor property. Venue of the Debtor’s Chapter 11

  case is proper in this district pursuant to 28 U.S.C. § 1408(1) and (2) but since the Court lacks

  jurisdiction the venue issue is moot.

            2.         The nature of the litigation by and between Woodbranch and FNA is controlling in

  determining both the jurisdiction but also the core/non-core analysis:

            If the proceeding involves a right created by the federal bankruptcy law, it is a core
            proceeding, for example, an action by the trustee to avoid a preference. If the
            proceeding is one that would arise only in bankruptcy, it is also a core proceeding;
            for example, the filing of a proof of claim or an objection to the discharge of a
            particular debt. If the proceeding does not invoke a substantive right created by the
            federal bankruptcy law and is one that could exist outside of bankruptcy it is not a
            core proceeding; it may be related to the bankruptcy because of its potential effect,
            but under section 157(c)(1) it is an “otherwise related” or non-core proceeding.

  Wood, 825 F.2d at 97. The removed litigation involves only non-debtor parties. There is no issue

  of a right created by federal bankruptcy law, the proceeding arose outside of bankruptcy therefore

  it can not be core.

            3.         Woodbranch does not consent to the Bankruptcy Court hearing the non-core

  matters.




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                                                  PARTIES


            4.         Woodbranch is a Delaware limited liability company with headquarters in Houston,

  Harris County, Texas.

            5.         FNA is a Delaware limited partnership.


                                                    FACTS

            6.         Woodbranch is the owner of the 8401 and 8415 Datapoint Drive office buildings in

  San Antonio (the “Property”). Highpoint-Lifehope SPE, LLC (the “Debtor”) became the tenant

  of Woodbranch under a Ground Lease for the Property. At no time was the Debtor the owner of

  the underlying real estate and it never had any interest in the fee estate. Woodbranch only had a

  leasehold interest which has now been terminated due to the Court’s order denying the Debtor’s

  request to assume the lease (Dkt #351).

            7.         The Debtor could not pay the personal property taxes associated with the Debtor’s

  personal property located inside the leasehold interest. The Debtor sought a third-party lender to

  make it a loan. FNA advanced the funds to the Debtor that it needed to pay such personal property

  taxes. To secure the advance of funds the tax liens against the Debtor’s personal property were

  assigned to FNA. The only property owner subject to the liens was the Debtor. The Transfers of

  Tax Liens to FNA refers to the legal description of the affected personal property is “improvement

  only on .392AC” and “.395AC”.

            8.         Woodbranch owns the realty pursuant to a recorded deed.

            9.         Woodbranch sought a declaratory judgment under Chapter 37 of the Texas

  Declaratory Judgment Act asking the Texas State Court to declare that the liens filed by or sought

  to be enforced by FNA against Woodbranch’s real estate were void; that FNA has a lien solely


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  against whatever personal property had been owned by the Debtor; that the Debtor’s lease with

  Woodbranch has been terminated; and that the cloud on Woodbranch’s title to the realty should

  be removed.

                                                 ARGUMENT

            10.        This Court lacks jurisdiction to adjudicate the dispute between Woodbranch and

  FNA. The Debtor has no interest in the lease or in Woodbranch’s realty as the lease has been

  rejected and the stay lifted. See, Dkt #351. Woodbranch’s declaratory judgment action to remove

  FNA’s lien (i.e., slander of title) has no bearing on nor effect upon the Debtor or the Debtor’s

  property. Without jurisdiction, the removal was improper and cannot and does not confer

  jurisdiction upon this Court.

            11.        If there is any possible “related to jurisdiction”, then 28 U.S.C. § 1452(b) and §

  1334(c)(1) strongly indicate that this Court should exercise its equitable and discretionary powers

  to remand the case in its entirety. Moreover, 28 § 1334(c)(2) mandates that this Court abstain from

  hearing FNA’s state law claims because there is no independent basis for federal jurisdiction other

  than the Debtor’s bankruptcy, the claims are non-core, the claims were initially brought in state

  court, and there is no reason why the State Court cannot timely adjudicate the claims. These basis

  for permissive and mandatory abstention are bolstered by the fact that this Court lacks subject

  matter jurisdiction to hear the claims asserted by non-debtors against non-debtors because they are

  not sufficiently “related to” the Debtor’s bankruptcy to confer subject matter jurisdiction pursuant

  to 28 U.S.C. § 1334(b).




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                       A. Equitable Remand and Permissive Abstention.

            12.        The circumstances of the Debtor’s removal of the State Court Proceeding warrant

  equitable remand and discretionary abstention. The statute governing removal and remand of

  claims related to bankruptcy cases is set forth at 28 U.S.C. §1452, which provides, in part:

                       (a)     A party may remove any claim or cause of action in a civil
                       action other than a proceeding before the United States Tax Court
                       or a civil action by a governmental unit to enforce such
                       governmental unit’s police or regulatory power, to the district court
                       for the district where such civil action is pending, if such district
                       court has jurisdiction of such claim or cause of action under section
                       1334 of this title.

                       (b)   The court to which such claim or cause of action is removed
                       may remand such claim or cause of action on any equitable ground.
                       ...

  28 U.S.C. §1452. Thus, the Court is authorized to remand any action removed to it under 28

  U.S.C. § 1334 “on any equitable ground.” 28 U.S.C. § 1452.

                                1. Permissive Abstention is Appropriate

            13.        The Court has similarly broad discretion to permissively abstain from hearing an

  action removed under 28 U.S.C. § 1334 “in the interest of justice or in the interest of comity with

  State courts or respect for State law.” 28 U.S.C. § 1334(c)(1); see also Wood v. Wood (In re Wood),

  825 F.2d 90, 93 (5th Cir. 1987) (“[28 U.S.C. § 1334(c)(1)] grants the district court broad powers

  to abstain wherever appropriate . . . .”).

            14.        In determining whether either form of judicial restraint is appropriate (or both),

  courts consider the same factors. J.T. Thorpe Co. v. Am. Motorists, No. H-02-04598, 2003 U.S.

  Dist. LEXIS 26016, at *6 (S.D. Tex. June 6, 2003); Orion Ref. Corp. v. Fluor Enters., Inc., 319

  B.R. 480, 488-89 (E.D. La. 2004) (“The factors that a district court considers to determine whether

  it should permissively abstain also support equitable remand under 28 U.S.C. § 1452.”); Borne v.


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  New Orleans Health Care, Inc., 116 B.R. 487, 494 (E.D. La. 1990) ("[T]he considerations

  underlying discretionary abstention and remand are the same."). Those factors are: (1) the

  duplication or uneconomical use of judicial resources; (2) whether remand will adversely affect

  the bankruptcy estate's effective administration; (3) whether the case involves questions of state

  law better addressed by state courts; (4) comity; (5) prejudice to the parties; (6) whether remand

  lessens the possibility of inconsistent results; and (7) whether the court where the action originated

  has greater expertise. See Bank v. Structured Advantage, Inc. (In re EOTL Sys.), 2004 Bankr.

  LEXIS 14 at *13-14 (Bankr. N.D. Tex. Jan. 12, 2004) (citing Browning v, Navarro, 743 F.2d 1069,

  1077 n. 21 (5th Cir. 1984) (analyzing the predecessor to § 1452); Horton v. Nacogdoches Indep.

  Sch. Dist., 81 F.Supp. 2d 707, 711 (E.D. Tex. 2000); Gabel v. Engra, Inc. (In re Engra, Inc.), 86

  B.R. 890, 896 (S.D. Tex. 1988)). Where applicable, courts may also consider additional factors,

  including: “(1) the jurisdictional basis, if any other than 28 U.S.C. § 1334; (2) the degree of

  relatedness or remoteness of the proceeding to the main bankruptcy case; (3) the substance rather

  than the form of the asserted ‘core’ proceeding; (4) the feasibility of severing state law claims from

  core bankruptcy matters to allow judgment to be entered in state court with enforcement left to the

  bankruptcy court; the burden of the bankruptcy on the court's docket; (5) the likelihood that the

  commencement of the proceeding in bankruptcy court involves forum shopping by one of the

  parties; and (6) the presence of non-debtor parties.” In re EOTL Sys., 2004 Bankr. LEXIS 14 at

  *14.

            15.        Application of these factors weighs heavily in favor of permissive abstention and

  equitable remand:

                       (a) The duplication or uneconomical use of judicial resources. As discussed in

                                section C, infra, the non-debtor’s claims must, in any event, proceed in the State


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                                Court, so the interests of judicial efficiency weigh in favor of the Debtor’s

                                claims being remanded to be adjudicated in the same proceeding.

                       (b) Whether remand will adversely affect the bankruptcy estate's effective

                                administration. Remand will have no adverse effect on the administration of

                                the Debtor’s bankruptcy estate. The Debtor is not a party and the dispute has

                                nothing to do with the Debor’s property.

                       (c) Whether the case involves questions of state law better addressed by state

                                courts. This factor weighs heavily in favor of remand. The claims in the

                                removed litigation are based on the common law of the state of Texas. They

                                are the types of claims that would ordinarily be brought in state court, not

                                federal court. Plainly, the State Court is the forum best situated to adjudicate

                                the claims.

                       (d) Comity. Federal courts “abstain out of deference to the paramount interests of

                                another sovereign, and the concern is with principles of comity and federalism.”

                                Quackenbush v. Allstate Ins. Co., 517 U.S. 706, 723 (1996). Section 1334(c)

                                “favors comity and the resolution of state law questions by state courts . . . .

                                [A]bsent countervailing circumstances, the trial of state law created issues and

                                rights should be allowed to proceed in state court, at least where there is no

                                basis for federal jurisdiction independent of section 1334 . . .” Lee v. Miller,

                                263 B.R. 757, 763 (S.D. Miss. 2001). Where, as here, the case involves solely

                                state rights claims, courts in the Fifth Circuit have concluded that “[c]omity

                                with state law weighs heavily in favor of abstention.” Abraham v. Smith, NO.

                                4:15-CV-00036, 2016 U.S. Dist. LEXIS 28606 (N.D. Miss. Mar. 7, 2016).


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                       (e) Prejudice to the parties. Remand to state court would not prejudice Debtor. The

                                Debtor is not involved. A decision not to remand to the State Court would

                                prejudice Woodbranch. Stern v. Marshall, 564 U.S. 462 (2011) (observing that

                                a non-Article III adjudication of common-law private rights is, at minimum,

                                constitutionally suspect). Thus, Woodbranch would be burdened by the need

                                to file a motion to withdraw the District Court’s reference to this Court with

                                respect to this proceeding, and because this Court cannot exercise the Judicial

                                Power of the United States without Woodbranch’s consent, which it has not

                                granted, this Court would not be able to enter final orders and judgment, but

                                could only, at best, make recommendations to the District Court which would

                                then issue final orders and judgment after de novo review. The District Court,

                                having remanded previously, would likely do so again.

                       (f) Whether remand lessens the possibility of inconsistent results. Here, there are

                                no claims against the Debtor. The other non-debtor parties must proceed in

                                State Court.

                       (g) Whether the court where the action originated has greater expertise. The State

                                Court has greater expertise in this matter because the State Court Action is

                                based entirely on Texas state law rather than federal law.

                       B. Mandatory Abstention.

            16.         “Under § 1334(c)(2) . . . courts must abstain from hearing a state law claim for

  which there is no independent basis for federal jurisdiction other than § 1334(b) ‘if an action is

  commenced, and can be timely adjudicated in a State forum of appropriate jurisdiction.’” Matter

  of Gober, 100 F.3d 1195, 1206 (5th Cir. 1996) (citing 28 U.S.C. §§ 157(b)(1) & 1334(c)(2)).


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  “Mandatory abstention [under § 1334(c)(2)] applies only to non-core proceedings – that is

  proceedings ‘related to a case under title 11,’ but not arising under title 11, or arising in a case

  under title 11.” Id. (citing 28 U.S.C. §§ 157(b)(1) and 1334(c)(2)).

            17.        The Fifth Circuit has identified the following four factors for determining if

  abstention is mandated under § 1334(c)(2): “(1) the claim has no independent basis for federal

  jurisdiction, other than § 1334(b); (2) the claim is a non-core proceeding, i.e., it is related to a case

  under title 11 does not arise under or in a case under title 11; (3) an action has been commenced

  in state court; and (4) the action could be adjudicated timely in state court.” In re Rupp & Bowman

  Co. v. Schuster, 109 F.3d 237, 239 (5th Cir. 1997).

            18.        All of the factors for mandatory abstention are present here.

            19.        First, Woodbranch’s claims are based solely on state law causes of action.

  Plaintiffs’ claims arise from a note and deed of trust provisions which is a cause of action arising

  under Texas state law. See Akins v. FIA Card Servs., N.A., 2015 Tex. App. LEXIS 1729 (Tex.

  App. Amarillo Feb. 23, 2015) (citing Tex. R. Civ. P. 185).

            20.        Second, the claims are non-core claims under 28 U.S.C. § 157. “[A] proceeding is

  core under section 157 if it invokes a substantive right provided by title 11 or if it is a proceeding

  that, by its nature, could arise only in the context of a bankruptcy case.” In re Wood, 825 F.2d at

  97. Woodbranch’s claims do not invoke a substantive right provided by Title 11 and are not of a

  nature that could “only arise in the context of a bankruptcy case.” “A state contract action that,

  had there been no bankruptcy, could have proceeded in state court” is non-core. Id. Thus, this

  removed litigation is a non-core proceeding.

            21.        With respect to the third factor, it is clear that Woodbranch commenced the State

  Court Action in the State Court. Thus, the third factor is satisfied.


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             22.        Finally, the fourth factor is satisfied because the action can be timely adjudicated

   in State Court. The State Court Action can be timely adjudicated in the State Court within the

   meaning of § 1334(c)(2), satisfying the fourth and final factor for mandatory abstention. This

   Court could not adjudicate the matter.

             23.        With each factor for mandatory abstention clearly fulfilled, this Court should

   abstain from hearing this matter, and remand to state court for further proceedings. Adelsflugel v.

   Consol. Aluminum Corp., NO. 13-811, 2014 U.S. Dist. LEXIS 116058, *3-9 (M.D. La. Aug. 19,

   2014) (mandatory abstention under section 1334(c)(2) requires remand of a removed claim).

                        C. This Court Lacks Subject Matter Jurisdiction Over Plaintiffs’ Claims
                           Against Non-Debtor Defendants.

             24.        This Court lacks subject matter jurisdiction to adjudicate the claims of Woodbranch

   or FNA because such claims do not have a sufficiently close nexus with administration of the

   Debtor’s bankruptcy case to fall within the grant of jurisdiction established by 28 U.S.C. § 1334(b).

   The claims against the respective non-debtors must be remanded to the State Court because this

   Court lacks jurisdiction to adjudicate them. 28 U.S.C. § 1334(b) confers non-exclusive jurisdiction

   on federal courts for “all civil proceedings arising under title 11, or arising in or related to cases

   under title 11.” 28 U.S.C. § 1334(b). To determine whether such jurisdiction exists, “it is

   necessary only to determine whether a matter is at least ‘related to’ the bankruptcy.” Bass v.

   Denney (In re Bass), 171 F.3d 1016, 1022 (5th Cir. 1999).

             25.        The Fifth Circuit, following the Third Circuit, has adopted the following test for

   whether an action is sufficiently “related to” a bankruptcy to confer jurisdiction on federal courts:

   “whether the outcome of that proceeding could conceivably have any effect on the estate being

   administered in bankruptcy.” In re Wood, 825 F.2d at 93 (quoting Pacor, Inc. v. Higgins, 743 F.2d

   984, 994 (3rd Cir. 1984)). While “related to” jurisdiction may be broad, the Supreme Court has

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   emphasized that “[r]elated to” jurisdiction “cannot be limitless.” Celotex Corp. v. Edwards, 514

   U.S. 300, 308 (1995). In Pacor, the Third Circuit stated that “the mere fact that there may be

   common issues of fact between a civil proceeding and a controversy involving the bankruptcy

   estate does not bring the matter within the scope of [former] section 1471(b). Judicial economy

   itself does not justify federal jurisdiction.” Pacor, 743 F.2d at 994.

             Courts presume that claims between non-debtors are not “related to” a bankruptcy

   sufficient to confer federal jurisdiction. See In re Federal-Mogul Global, Inc., 300 F.3d 368, 380

   (3rd Cir. 2002) (“related to bankruptcy jurisdiction will not extend to a dispute between non-

   debtors unless that dispute, by itself, creates at least the logical possibility that the estate will be

   affected”); Zerand-Bernal Group v. Cox, 23 F.3d 159, 161 (7th Cir. Ill. 1994) (“The reference to

   cases related to bankruptcy cases is primarily intended to encompass tort, contract, and other legal

   claims by and against the debtor, claims that, were it not for bankruptcy, would be ordinary

   standalone lawsuits between the debtor and others but that section 1334(b) allows to be forced into

   bankruptcy court so that all claims by and against the debtor can be determined in the same

   forum.”).

                                             CONCLUSION

             For the reasons set forth herein, the Court should grant Woodbranch’s motion to remand

   because this Court lacks jurisdiction and even if it had jurisdiction remand is appropriate under the

   mandatory abstention grounds enumerated in 28 U.S.C. § 1334(c)(2), or, alternatively, the Court

   should remand the case under the principles of equitable remand and discretionary abstention in

   accordance with 28 U.S.C. § 1452(b) and 28 U.S.C. § 1334(c)(1).




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             Respectfully submitted this 2nd day of February, 2024.

                                                 HIRSCH & WESTHEIMER, P.C.

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                                         CERTIFICATE OF SERVICE

           I, Michael J. Durrschmidt, hereby certify that on the 2nd day of February, 2024, a copy of
   the foregoing Notice of Appearance of Counsel was served via the Clerk of the Court through the
   ECF system.

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